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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

CHARLES NICHOLS, individually               )
and as father and next best of B.N. et al., )
                                            )       Case No.: 18:cv-01296 GJH
                     Plaintiffs,            )
                                            )
       v.                                   )
                                            )
                                            )
PRINCE GEORGE’S COUNTY                      )
                                            )
                     Defendant.             )
                                            )

                          NOTICE OF VOLUNTARY DISMISSAL

       NOTICE IS HEREBY GIVEN that pursuant to Federal Rules of Civil Procedure 41(a),

Plaintiffs, Charles Nichols and Bonnecia Potts voluntary dismiss without prejudice the above-

entitled action against Defendant, Prince George’s County. This notice of dismissal is being filed

with the Court before service of any pleadings.

                                                    Respectfully submitted,

                                                    THE MCDANIEL LAW GROUP, P.L.L.C.


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